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                           UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF MICHIGAN
                                SOUTHERN DIVISION

UNITED STATES OF AMERICA,

              Plaintiff,
                                                        CASE NO. 1:04-CR-268
v.
                                                        HON. ROBERT HOLMES BELL
MARLON JOEL LEWIS,

              Defendant.
                                   /

                        MEMORANDUM OPINION AND ORDER

       This matter is before the Court on Defendant’s Motion for Modification or

Reduction of Sentence Pursuant to 18 U.S.C. §3582(c)(2) (docket #134). Based on a

review of Defendant’s motion, the Sentence Modification Report, submission by counsel

for the government and for the defense, and the original criminal file, the Court has

determined that the motion should be denied as follows:

       Defendant was sentenced on April 25, 2005 on seven counts of an Indictment

charging Conspiracy to Distribute More than 50 Grams of Cocaine Base; Distribution of

an Unspecified Quantity of Cocaine Base; Distribution of More than 5 Grams of Cocaine

Base; and Possession with Intent to Distribute More than 50 Grams of Cocaine Case.

Defendant was sentenced as a career offender within the meaning of U.S.S.G. § 4B1.1(a).

As such, defendant is ineligible for a reduction in sentence. Accordingly,

       Defendant’s Motion for Modification or Reduction of Sentence (docket #134) is

DENIED.

Dated: August 2, 2011                     /s/ Robert Holmes Bell
                                          ROBERT HOLMES BELL
                                          UNITED STATES DISTRICT JUDGE
